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 1     JEFFRY M. DOROCAK
       City Attorney
 2     Nevada Bar No. 13109
       By: PAUL MATA
 3     Deputy City Attorney
       Nevada Bar No. 14922
 4     495 South Main Street, Sixth Floor
       Las Vegas, NV 89101
 5     (702) 229-6629
       (702) 386-1749 (fax)
 6     Email: pmata@lasvegasnevada.gov
       Attorneys for CITY DEFENDANTS
 7

 8                                UNITED STATES DISTRICT COURT

 9                                           DISTRICT OF NEVADA

10       ALICIA INES MOYA GARAY, JUAN
         JAIME LOPEZ-JIMENEZ, and ARRIBA
11       LAS VEGAS WORKER CENTER,

12                             Plaintiffs,

13              vs.

14       CITY OF LAS VEGAS, a municipality;
         JASON POTTS, in his official capacity as         CASE NO. 2:20-cv-0119-ART-EJY
15       City of Las Vegas Chief of Department of
         Public Safety; BANANTO SMITH, in his
16       individual capacity; DANIELLE DAVIS, in
         her official capacity as Deputy Chief of         Complaint Filed: November 5, 2024
17       Detention Services; UNITED STATES                Current Response Date: November 19, 2024
         IMMIGRATION AND CUSTOMS                          New Response Date: December 17, 2024
18       ENFORCEMENT; TAE D. JOHNSON, in
         his official capacity as Deputy Director and
19       Senior Official Performing the Duties of the
         Director of United States Immigration and
20       Customs Enforcement; MICHAEL
         BERNACKE, in his official capacity as Salt
21       Lake City ICE Field Office Director,

22                             Defendants.

23

24                   STIPULATION AND ORDER FOR CLARIFICATION
                    OF TIME FOR DEFENDANTS TO FILE A RESPONSIVE
25               PLEADING TO PLAINTIFF’S FOURTH AMENDED COMPLAINT
                                     (First Request)
26

27            On October 15, 2024, the Parties filed a proposed Stipulated Discovery Plan and

28     Scheduling Order. (ECF #140.) In the proposed Stipulated Discovery Plan and Scheduling
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 1     Order, the Parties agreed that any answer or other response to Plaintiffs’ Fourth Amended

 2     Complaint would be filed by December 17, 2024. (ECF #140 at 3:13-14.) On October 16, 2024,

 3     the Honorable Elayna J. Youchah granted the Parties’ Stipulated Discovery Plan and Scheduling

 4     Order, including the Parties’ responsive pleading deadline of December 17, 2024. (ECF #141 at

 5     3:13-14.)

 6            On October 18, 2024, Plaintiffs filed their Motion for Leave to File Amended Complaint.

 7     (ECF #142.) The motion was unopposed. Accordingly, on November 4, 2024, the Honorable

 8     Elayna J. Youchah granted Plaintiff’s motion to file an amended complaint. (ECF #143.) In the

 9     Court’s minute order, however, it stated that, “Defendants’ responsive pleading is due 14 days

10     from the date the Fourth Amended Complaint is filed.” Id. Plaintiffs’ Fourth Amended

11     Complaint was filed the next day, on November 5, 2024. (ECF #144.) Accordingly, there is a

12     discrepancy regarding the responsive pleading deadline, which this Stipulation now clarifies.

13            This is the first request for clarification of the deadline for the defendants to answer or

14     respond to Plaintiffs’ Fourth Amended Complaint.

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     Case 2:20-cv-00119-ART-EJY           Document 146         Filed 11/14/24     Page 3 of 3


 1            IT IS HEREBY STIPULATED AND AGREED by the Parties, through their respective

 2     counsel, subject to the Court’s approval, that the deadline for the defendants in this matter to

 3     answer or otherwise respond to Plaintiffs’ Fourth Amended Complaint shall be extended from

 4     November 19, 2024, to December 17, 2024, as agreed to by the Parties in their Stipulated

 5     Discovery Plan and Scheduling Order.

 6      DATED this 14th day of November, 2024.           DATED this 14th day of November, 2024.
 7      MEXICAN AMERICAN LEGAL                           JEFFRY M. DOROCAK
        DEFENSE AND EDUCATIONAL FUND                     Las Vegas City Attorney
 8

 9      By:    /s/ Luis L. Lozada                        By:     /s/ Paul Mata____________________
               ERNEST L. HERRERA, ESQ.                           PAUL MATA
10             LUIS L. LOZADA, ESQ.                              Deputy City Attorney
               Pro Hac Vice                                      Nevada Bar No. 14922
11             634 South Spring Street, 11th Floor               495 South Main Street, Sixth Floor
               Los Angeles, CA 90014                             Las Vegas, NV 89101
12
        F. Travis Buchanan, Esq.                                 Attorneys for City Defendants
13      Nevada Bar No. 9371
        F. TRAVIS BUCHANAN, ESQ., &                      DATED this 14th day of November, 2024.
14      ASSOCIATES, PLLC
        701 East Bridger Avenue, #540                    U.S. DEPARTMENT OF JUSTICE
15      Las Vegas, NV 89101                              Civil Division
                                                         Office of Immigration Litigation
16      Attorneys for Plaintiffs                         General Litigation & Appeals Section
17
                                                         By:     /s/ J. Max Weintraub_
18                                                               J. MAX WEINTRAUB
                                                                 Acting Assistant Director
19                                                               Affirmative Litigation Unit
                                                                 P.O. Box 878, Ben Franklin Station
20                                                               Washington, D.C. 20044
21                                                               Attorneys for Federal Defendants
22                                                       IT IS SO ORDERED:
23

24                                                       ______________________________________
                                                         UNITED STATES DISTRICT JUDGE
25
                                                                November 14, 2024
                                                         DATED: _____________________
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